                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


KENNETH P. CURRAN,

                            Plaintiff,

              v.                                         Case No. 18-CV-88

UNITED STATES POSTAL SERVICE,

                            Defendant.


                              DECISION AND ORDER


                                    INTRODUCTION

       Plaintiff Kenneth Curran brought this action against defendant United States

Postal Service (USPS) under the Freedom of Information Act, alleging that USPS

improperly withheld documents responsive to his request for records. (ECF No. 1.) USPS

moves for summary judgment pursuant to Federal Rule of Civil Procedure 56. (ECF No.

20.) In connection with his response to USPS’s motion, Curran filed an unopposed motion

for in camera review of records. (ECF No. 25; see ECF No. 28 at 3.) The court will grant that

motion. All parties have consented to the full jurisdiction of a magistrate judge. (ECF Nos.

4, 5.) USPS’s motion for summary judgment is ready for resolution.




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                                  BACKGROUND

        Curran is employed as an electronic technician in the maintenance department of

USPS’s Processing and Distribution Center in Madison, Wisconsin. (ECF No. 1, ¶ 2; ECF

No. 24 at 2.) Curran has repeatedly observed co-workers sleeping and using government

computers for non-work-related internet use. (ECF No. 1, ¶ 7.)

        On November 11, 2015, Curran submitted a formal complaint to the USPS Office

of Inspector General, alleging waste and abuse by maintenance employees at the Madison

Processing and Distribution Center. (ECF No. 1, ¶ 8; see ECF No. 1-1.) On December 24,

2015, Plant Manager Gary Kaiser met with Curran to discuss his complaint. (ECF No. 1,

¶ 12.) At the end of the meeting, Kasier assured Curran that the matter would be looked

into. (Id.)

        An audit team from the Office of Inspector General arrived at the Madison

Processing and Distribution Center the week of March 21-25, 2016. (ECF No. 1, ¶ 14.)

Curran provided the team with information regarding employees sleeping on the job,

internet usage, government equipment taken out of the facility, and a hard drive being

wiped clean. (Id.)

        On September 27, 2016, the Office of Inspector General released a public audit

report following an investigation of Curran’s complaints. (See ECF No. 1-3.) The report

concluded that the “Madison [Processing and Distribution Center] maintenance




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management did not effectively manage overtime for the 13 electronic technicians” that

were investigated as part of the report. (Id. at 2.)

       As a result, the Postal Service incurred unnecessary overtime and penalty
       overtime costs of $214,155 during [Fiscal Years] 2014 and 2015.
       Additionally, … management can potentially save at least $107,078 for
       [Fiscal Year] 2016, by reducing electronic technicians’ overtime and penalty
       overtime by 58 percent to achieve the average overtime usage of electronic
       technicians at comparable facilities.

(Id. at 4.) The audit report specifically addressed internet usage:

       Five of the 13 electronic technicians (or 38 percent) had an average daily
       Internet use of between 24 and 66 minutes, which exceeded the 18-minute
       daily average Internet use of the 13 electronic technicians combined.

       Two of the five electronic technicians far exceeded the average, one with 66
       daily average minutes (266 percent above) and one with 49 daily average
       minutes (172 percent above) and had excessive Internet usage instances
       ranging from about 170 to 250 minutes. These two electronic technicians
       also visited a significantly higher volume of non-work related sites,
       consisting of various news, sport, social media, and retail websites.
       Compared to the other 11 electronic technicians, one had above average
       overtime and penalty overtime usage both overall and during the
       weekends.

       The remaining three electronic technicians exceeded the daily average,
       ranging from 24 minutes (33 percent above) to 28 minutes (56 percent
       above) and had excessive Internet usage instances ranging from 105 to 162
       minutes. They visited several non-work related sites on either a Saturday
       or Sunday, when supervisors were not present. All three technicians had
       above average overtime and penalty overtime use while one of those three
       technicians had above average overtime during the weekends.

(ECF No. 1-3 at 12-13.) “These incidents occurred because maintenance supervisors did

not monitor employees’ computer usage.” (Id. at 13.)



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       The report recommended in part that Acting District Manager, Lakeland District,

Deborah Woodrum instruct maintenance management to “[d]evelop and implement a

process to monitor Maintenance personnel’s personal use of Postal Service computers

during workhours to ensure compliance with the established policy for Internet usage.”

(ECF No. 1-3 at 16.) With regard to that recommendation, Woodrum responded:

       Management agrees, in part, with this recommendation.
       Madison management is not able to install any type of monitoring software
       on the computer systems. However, we are developing an observation log
       that will be used by all management personnel in the [Madison Processing
       and Distribution Center] to observe and document what activities the
       [electronic technicians] are engaged in at random intervals during all tours
       and workdays. The Acting District Manager will send out messaging to the
       entire District re-iterating the policy for limited personal usage of postal
       equipment and internet usage.

(Id. at 24-25.)

       Curran alleges that the misconduct continues unchecked. (ECF No. 1, ¶ 20.) He

submitted a Freedom of Information Act (FOIA) request to USPS’s Manager Records

Office on April 2, 2017:

       I request the following records for Madison Processing & Distribution
       Center … from December 24, 2015 to present.

       1) All records relating to non-postal websites accessed by maintenance
       employees, including electronics technicians and maintenance
       management. USPS Office of Inspector General (OIG) provided these
       records to Acting Lakeland District Manager Debbie Woodrum for rebuttal
       of Audit Report HR-AR-16-005. The records should include but not be
       limited to OIG’s 2016 audit/investigation, daily logs of internet usage
       referenced on page 15 of the Audit Report HR-AR-16-005, and OIG
       complaint filed on December 11, 2016.


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       2) Request all records relating to USPS employees in the Maintenance
       Department being walked out of the building in April of 2016. Lakeland
       District most likely ordered this action as a result of OIG’s onsite audit in
       March of 2016.

       3) Request all records relating to USPS employees sleeping at Madison
       Processing & Distribution Center which should include photographs.
       Lakeland District PO Box 5000 Milwaukee, WI 53201-5000 is most likely in
       possession of the photos.

(ECF No. 1-4 at 1.)

       In a letter dated April 12, 2017, Freedom of Information Coordinator LaVerne

Morgan-Hill denied Curran’s FOIA request:

       Based on your description of records sought, falls [sic] under the FOIA
       exemption guideline for Federal Agencies to withhold information.

       b(2) Personnel Rules and Practices—applies to records related solely to
       internal personnel rules and practices that are either (a) too trivial to be of
       genuine public interest or (b) would enable circumvention of laws or
       regulations.

       B(6)—Personal Information—applies to personal information, including
       medical and personnel files, the disclosure of which would be a clearly
       unwarranted invasion of personal privacy.

(ECF No. 1-5 at 1.)

       Curran filed an administrative appeal of the denial to the General Counsel of

USPS. (ECF No. 1-6.) In a letter dated August 31, 2017, Attorney James Tucker affirmed

Morgan-Hill’s denial of Curran’s FOIA request. (ECF No. 1-7.) Relying on Exemption 6,

Tucker wrote:

       You have failed to articulate a cognizable public interest in the requested
       information. As courts have noted, there is no cognizable public interest in
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       this type of record. Therefore, the privacy interests involved heavily
       outweigh a non-existent public interest in disclosure. As such, the requested
       information was properly withheld because disclosure would constitute an
       unwarranted invasion of personal privacy.

(Id. at 3.) (Internal citations omitted.) Because Tucker found that Exemption 6 warranted

withholding the requested records, he did not address Curran’s argument that USPS

incorrectly applied Exemption 2. (Id.)

       Curran appeals Tucker’s denial to this court. See 5 U.S.C. § 552(a)(4)(B).

                             STANDARD OF REVIEW

       “FOIA cases typically and appropriately are decided on motions for summary

judgment.” Citizens for Responsibility & Ethics in Washington v. U.S. Dep’t of Veterans Affairs,

828 F. Supp. 2d 325, 329 (D.D.C. 2011). “[T]he strong presumption in favor of disclosure

places the burden on the agency to justify the withholding of any requested documents.”

U.S. Dep’t of State v. Ray, 502 U.S. 164, 173 (1991) (citing Dep’t of Air Force v. Rose, 425 U.S.

352, 361 (1976); Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 755

(1989)). The agency must prove by “a preponderance of the evidence that a withheld

document falls within one of the exemptions.” Enviro Tech. Int’l v. U.S. Env’t Prot. Agency,

371 F.3d 370, 374 (7th Cir. 2004) (citing 5 U.S.C. § 552(a)(4)(B)).

       “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” FED. R. CIV. P. 56(a). A fact is “material” only if it “might affect the outcome of

the suit” and a dispute is “genuine” only if a reasonable factfinder could return a verdict
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for the non-movant. Anderson v. Liberty Lobby Inc., 477 U.S. 242, 248 (1986). In resolving a

motion for summary judgment, the court is to “construe all evidence and draw all

reasonable inferences from the evidence in” favor of the non-movant. E.Y. v. United States,

758 F.3d 861, 863 (7th Cir. 2014) (citing Gil v. Reed, 535 F.3d 551, 556 (7th Cir. 2008); Del

Raso v. United States, 244 F.3d 567, 570 (7th Cir. 2001)).

                                            ANALYSIS

       “The Freedom of Information Act was enacted to facilitate public access to

Government documents,” Ray, 502 U.S. at 173 (citing John Doe Agency v. John Doe Corp.,

493 U.S. 146, 151 (1989)), and was designed “‘to pierce the veil of administrative secrecy

and to open agency action to the light of public scrutiny.’” Rose, 425 U.S. at 361. It “reflects

‘a general philosophy of full agency disclosure unless information is exempted under

clearly delineated statutory language.’” U.S. Dep’t of Def. v. Fed. Labor Relations Auth., 510

U.S. 487, 494 (1994) (quoting Rose, 425 U.S. at 360-61 (internal quotation marks omitted));

see 5 U.S.C. §§ 552(a)(3), (b). “These exemptions are explicitly made exclusive and must

be narrowly construed.” Milner v. Dep’t of Navy, 562 U.S. 562, 565 (2011) (internal

quotation and citations omitted).

       In denying Curran’s FOIA request, USPS relied on Exemptions 2 and 6. (See ECF

No. 1-5 at 1.) Exemption 2 shields from disclosure matters that are “related solely to the

internal personnel rules and practices of an agency.” 5 U.S.C. § 552(b)(2). The Supreme

Court has held that “[a]n agency’s ‘personnel rules and practices’ are its rules and


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practices dealing with employee relations or human resources”—“such matters as hiring

and firing, work rules and discipline, compensation and benefits.” Milner, 562 U.S. at 570.

Exemption 6, on the other hand, shields from disclosure “personnel and medical files and

similar files the disclosure of which would constitute a clearly unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(6). It was enacted primarily “to protect individuals

from the injury and embarrassment that can result from the unnecessary disclosure of

personal information,” and to “provide for the confidentiality of personal matters.” U.S.

Dep’t of State v. Washington Post Co., 456 U.S. 595, 599 (1982).

       To determine whether an agency has properly withheld records under Exemption

6, the court must first determine whether the records in question are personnel, medical,

or similar files. Associated Press v. U.S. Dep’t of Def., 554 F.3d 274, 291 (2d Cir. 2009). The

Supreme Court has broadly interpreted “similar files” to mean “detailed Government

records on an individual which can be identified as applying to that individual.”

Washington Post, 456 U.S. at 602.

       If the records in question are determined to be personnel, medical, or similar files,

the court must then “balance the public need for the information against the individual’s

privacy interest in order to assess whether disclosure would constitute a clearly

unwarranted invasion of personal privacy.” Associated Press, 554 F.3d at 291. “[T]he only

relevant ‘public interest in disclosure’ to be weighed in this balance is the extent to which

the disclosure would serve the ‘core purpose of the FOIA,’ which is ‘contribut[ing]


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significantly to public understanding of the operations or activities of the government.’” Fed.

Labor Relations Auth., 510 U.S. at 495 (quoting Reporters Committee, 489 U.S. at 775)

(emphasis and second alteration in original). “Official information that sheds light on an

agency’s performance of its statutory duties falls squarely within that statutory purpose.

That purpose, however, is not fostered by disclosure of information about private citizens

that is accumulated in various governmental files but that reveals little or nothing about

an agency’s own conduct.” Reporters Committee, 489 U.S. at 773.

       Section 552(a)(4)(B) provides that a district court shall review an agency’s denial

of a FOIA request de novo. 5 U.S.C. § 552(a)(4)(B). To assist the court in its review, USPS

has provided the court with (1) a Vaughn index that describes the documents withheld

(ECF No. 21-1); (2) affidavits by Kaiser (ECF No. 29) and Woodrum (ECF No. 30); (3) a

copy of the documents listed on the Vaughn index; and (4) internet usage records

pertaining to one USPS maintenance department employee (see ECF No. 32) as a random

sample of the records that exist for all maintenance department employees.

       USPS argues that the requested records are exempt from disclosure under

Exemption 6 because (1) they meet the definition of personnel or similar files, and (2)

their disclosure would constitute a clearly unwarranted invasion of the employees’

personal privacy. (See ECF No. 21.) Curran does not dispute that the requested records

meet the definition of personnel or similar files. (See ECF No. 24.)




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  I.   Internet Usage Records

       As an initial matter, the parties dispute the scope of Curran’s first FOIA request,

which seeks production of:

       All records relating to non-postal websites accessed by maintenance
       employees, including electronics technicians and maintenance
       management. USPS Office of Inspector General (OIG) provided these
       records to Acting Lakeland District Manager Debbie Woodrum for rebuttal
       of Audit Report HR-AR_16-005. The records should include but not be
       limited to OIG’s 2016 audit/investigation, daily logs of internet usage
       referenced on page 15 of Audit Report HR-AR-16-005, and OIG complaint
       filed on December 11, 2016.

(ECF No. 1-4 at 1.) USPS says that it understood this request “to seek disclosure of all

records the Office of Inspector General for USPS provided to Lakeland District Manager

Debbie Woodrum for the purposes of permitting her to respond to the findings of the

OIG audit report.” (ECF No. 28 at 2.) Curran argues that USPS construed his request

“more narrowly than is supported by the text of the request.” (ECF No. 24 at 9.) He states

that, “[i]n an effort to assist those who would be responding in their task of identifying

the records, he noted in the request his understanding that the records had been provided

to the Lakeland facility district manager for use in a response to the audit report.” (Id. at

10.) He did not intend for that gesture to limit his request for “[a]ll records relating to

non-postal websites accessed by maintenance employees.” (Id.)

       “Courts have ruled that an agency should broadly construe the subject matter of a

FOIA request.” Dayton Newspaper, Inc. v. Dep’t of Veterans Affairs, 510 F. Supp. 2d 441, 447

(S.D. Ohio 2007) (citing LaCedra v. Exec. Office for U.S. Att’ys, 317 F.3d 345, 348 (D.C. Cir.
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2003)) (emphasis added); see also Protect Democracy Project v. U.S. Dep’t of Energy, 330 F.

Supp. 3d 515, 522-23 (D.D.C. 2018) (“[A]n agency should not narrow a broadly worded

FOIA request merely because the requester goes on to specify particular information he

is seeking.”). As such, although the court agrees that USPS’s reading of the first FOIA

request was reasonable, it will broadly construe Curran’s first FOIA request as requesting

“[a]ll records relating to non-postal websites accessed by maintenance employees,

including electronic technicians and maintenance management,” from December 24, 2015

to present, including but not limited to those records which the USPS Office of Inspector

General (OIG) provided to Acting Lakeland District Manager Debbie Woodrum for

rebuttal of Audit Report HR-AR_16-005. (See ECF No. 1-4 at 1.)

       After learning (through Curran’s response to USPS’s motion for summary

judgment) that Curran did not intend to limit his first request to the records which the

Office of Inspector General provided to Woodrum, counsel for USPS “met with plaintiff’s

counsel to discuss the issue and to further clarify the scope of Mr. Curran’s request.” (ECF

No. 28 at 3.) As a result of those discussions, USPS agreed to provide the court with “a

sample of one internet usage record pertaining to a maintenance department employee

selected at random from an alphabetical list of 24 employees.” (Id.) The record (consisting

of 858 pages) was provided “for the purpose of determining whether the documents fall

within Exemption 6 and whether they can be redacted in a way that protects the privacy

of the employees involved.” (Id.)


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       USPS argues that the internet usage records (A) are not “agency records” subject

to disclosure under FOIA, and (B) even if they are, the public disclosure of those records

would constitute a clearly unwarranted invasion of the maintenance department

employees’ personal privacy. (ECF No. 28 at 4-11.)

           A. “Agency Records”

       “An agency presented with a request for records under FOIA is required to

produce only agency records[.]” Ethyl Corp. v. U.S. Env’t Prot. Agency, 25 F.2d 1241, 1247

(4th Cir. 1994). In its reply brief, USPS argues that the internet usage records are personal

in nature and thus not subject to disclosure under FOIA:

       [I]n seeking the public disclosure of all “non-postal websites” accessed by
       Postal Service employees, Mr. Curran appears to focus his FOIA request
       entirely on internet searches that are personal in nature. But under Ethyl
       Corporation, these kinds of personal records do not meet the definition of an
       “agency record” subject to the FOIA. Had Mr. Curran sought the disclosure
       of work-related internet searches, those records would likely meet the
       threshold definition of an agency record. But here, the records sought are,
       by the terms of Mr. Curran’s request, personal in nature; as such, they are
       not covered by the FOIA and are not subject to public disclosure.

(ECF No. 28 at 4-5.) (Internal footnote omitted.) 1

       However, the fact that the records may contain some personal information about

USPS employees does not render the records any less agency records. Agency records



1Curran argues that USPS has waived this argument by failing to raise it until its reply brief.
(ECF No. 34 at 2.) While that is typically true, see Laborers’ Pension Fund v. W.R. Weis Company,
Inc., 879 F.3d 760, 768 (7th Cir. 2018), USPS’s failure was due to its good faith misunderstanding
of the scope of Curran’s first FOIA request. (See ECF No. 28 at 2-5.) The court granted Curran a
chance to respond in a sur-reply brief. (See ECF No. 34.)
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“are those that are either created or obtained by the agency and are subject to the control

of the agency at the time the FOIA request is made.” Ethyl Corp., 25 F.3d at 1247; see U.S.

Dep’t of Justice v. Tax Analysts, 492 U.S. 136, 144-45 (1989). As USPS explains, the “internet

usage records of Postal Service employees” are stored in a “central database” and must

be “processed by a log analyzer application to place the records into a readable format.”

(ECF No. 28 at 3, n. 2.) As such, they are clearly created by USPS and were subject to its

control at the time of Curran’s FOIA request. Curran’s request for the production of

records related to non-work-related internet searches (as opposed to work-related

searches) does not somehow render the records something other than “agency records.”

       Therefore, since the internet usage records are “agency records,” and USPS must

disclose them unless they fall within one of the FOIA exemptions.

          B. Exemption 6

       USPS argues that the internet usage records are protected from disclosure under

Exemption 6. (ECF No. 28 at 5.) The Exemption 6 balancing analysis requires the court to

first determine “whether disclosure of the files ‘would compromise a substantial, as

opposed to de minimis, privacy interest,’ because ‘[i]f no significant privacy interest is

implicated … FOIA demands disclosure.’” Multi Ag Media LLC v. Dep’t of Agric., 515 F.3d

1224, 1229 (D.C. Cir. 2008) (quoting Nat’l Ass’n of Retired Fed. Employees v. Horner, 879 F.2d

873, 874 (D.C. Cir. 1989)) (alterations in original). A USPS employee’s internet usage

record includes his or her name, user identification, and a chronological list of his or her


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internet search inputs, including the dates and times the searches were conducted. (See

ECF No. 28 at 3.) An employee’s internet usage record may reveal intimate (and

potentially embarrassing) details about his or her personal or work life. As such, the

maintenance employees have a significant privacy interest with regard to the public

disclosure of their internet search history. See Wood v. Fed. Bureau of Investigation, 432 F.3d

78, 88 (2d Cir. 2005) (“This interest against possible harassment and embarrassment …

raises a measurable privacy concern that must be weighed against the public’s interest in

disclosure.”); Ripskis v. Dep’t of Hous. And Urban Dev., 746 F.2d 1, 3 (D.C. Cir. 1984)

(“[Exemption 6] is generally thought to protect intimate personal details the disclosure of

which would be likely to cause embarrassment.”).

       Having said that, the employees’ privacy interests are substantially diminished if

all personal identifying information can be redacted from the records. Curran argues that

“[b]ecause there are more than 40 maintenance department employees with internet

access, it would not be possible to identify any employees’ specific internet usage if names

are redacted from the documents.” (ECF No. 24 at 20.) In response, USPS argues:

       Although the volume of information disclosed might decrease the chance
       that Mr. Curran or another co-worker could link those searches to a specific
       employee, this is far from certain, and many categories of personal searches
       could well identify that employee to a co-worker.

       To take one example, assume an employee has a child who plays on a local
       high school football team. The employee might well conduct personal
       internet searches of the high school’s website to ascertain the child’s
       schedule or game location. To the extent a co-worker is familiar with the
       employee’s family activities, the co-worker could rather easily link a list of
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       search results to that specific person. Multiple similar examples can be
       imagined.

(ECF No. 28 at 9-10.)

       The court agrees with Curran. Having reviewed the records in camera, if all

personal identifying information is redacted, it would be extremely difficult for a member

of the public to link specific searches to a specific employee. The Supreme Court has noted

that “Exemption 6 was directed at threats to privacy interests more palpable than mere

possibilities.” Rose, 425 U.S. at 380 n. 19 (emphasis added); see Arieff v. U.S. Dep’t of Navy,

712 F.2d 1462, 1467 (D.C. Cir. 1983).

       The court must next weigh the employees’ privacy interest in non-disclosure

against the public interest in the release of the records to determine whether, on balance,

disclosure would amount to a clearly unwarranted invasion of personal privacy. Multi

Ag Media, 515 F.3d at 1230-31. The public has a valid interest in confirming that

management at the Madison Processing and Distribution Center is taking corrective

action to ensure that maintenance employees are no longer abusing their internet

privileges. See Reporters Committee, 489 U.S. at 773 (holding that the basic purpose of FOIA

focuses on the citizens’ right to be informed about what their government is up to).

       The balancing of these interests favors disclosure of the records as long as all

personal identifying information is redacted. See Lurie v. Dep’t of Army, 970 F. Supp. 19,

37 (D.D.C. 1997) (“If the redaction reasonably protects the privacy interest, the record

should be released.”); 5 U.S.C. § 552(b) (“Any reasonably segregable portion of a record
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shall be provided … after deletion of the portions which are exempt[.]”). While Curran

has not moved for summary judgment, “district courts are widely acknowledged to

possess the power to enter summary judgment sua sponte, so long as the losing party was

on notice that [it] had to come forward with all of [its] evidence.” Celotex Corp. v. Catrett,

477 U.S. 317, 326 (1986); see Fed. R. Civ. P. 56(f). USPS was on notice and in fact did come

forward with all of its evidence. As such, the court will deny USPS summary judgment,

grant summary judgment for Curran on this issue, and order USPS to produce the

internet usage records for all maintenance department employees, with the employees’

personal identifying information redacted. 2

    II.   Supervisor Observation Logs

          USPS has withheld from disclosure supervisor observation logs that were

developed in response to the Office of Inspector General’s recommendation that Madison

management “develop and implement a process to monitor Maintenance personnel’s

personal use of USPS computers during workhours to ensure compliance with the

established policy for internet usage.” (ECF No. 1-3 at 24; see ECF No. 21-1, Bates Range

111-237.) The purpose of the supervisor observation logs was “to observe and document

what activities the [electronic technicians] [were] engaged in at random intervals during

all tours and workdays.” (ECF No. 1-3 at 24.)




2USPS shall produce the internet usage records for all maintenance department employees,
including but not limited to electronic technicians and maintenance management.
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       USPS has failed to identify any significant privacy interests that would be

implicated by the disclosure of the observation logs. The observation logs generally

describe what is occurring in the maintenance hallway and “E.T. Lab/Computer Room”

at random intervals throughout the workday, and do not reveal any personal or intimate

information.

       As such, the court will deny USPS summary judgment with regard to the

supervisor observation logs (ECF No. 21-1, Bates Range 111-237), enter summary

judgment for Curran on this issue, and order that the logs be produced. See Nat’l Ass’n of

Retired Fed. Employees, 879 F.2d at 874 (“If no significant privacy interest is implicated …

FOIA demands disclosure.”). In producing the logs, USPS may redact all personal

identifying information. See U.S. Dep’t of Navy v. Fed. Labor Relations Auth., 975 F.2d 348,

352 (7th Cir. 1992) (holding that federal employees have a privacy interest in the release

of their names in association with their employment with the federal government).

III.   Investigation of Maintenance Manager

       USPS has also withheld all records relating to the investigation and discipline of a

maintenance manager at the Madison Processing and Distribution Center. (See ECF No.

21-1, Bates Range 001-110, 238-253.) The court agrees with USPS that the details behind

why the maintenance manager was investigated and disciplined are personal, potentially

embarrassing, and could lead to possible harassment. (See ECF No. 28 at 9.) As such, the

maintenance manager has a significant privacy interest with regard to disclosure, which


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cannot be adequately protected by redacting the maintenance manager’s name from the

records. See Dayton Newspaper, Inc. v. Dep’t of Veteran Affairs, 257 F. Supp. 2d 988, 999 (S.D.

Ohio 2003) (“One’s privacy is invaded whenever the disclosure of information could lead

to embarrassment [or] humiliation[.]”); Alirez v. Nat’l Labor Relations Bd., 676 F.2d 423, 428

(10th Cir. 1982) (finding that deletion of names and other identifying data pertaining to a

small group of co-workers was simply inadequate to protect them from embarrassment

or reprisals because the FOIA requester could still possibly identify them).

       With regard to the public interest in the disclosure of these records, Curran argues,

and the court agrees, that the public has an interest in knowing whether the investigation

of the maintenance manager was comprehensive and whether USPS imposed adequate

disciplinary measures. (ECF No. 24 at 17; See Lurie, 970 F. Supp. 37 (“The public interest

… extends to knowing whether an investigation was comprehensive and that the agency

imposed adequate disciplinary measures.”).) However, the public interest is limited. The

maintenance manager was a relatively low-level government employee, see Providence

Journal Co. v. U.S. Dep’t of Army, 981 F.2d 552, 568-69 (1st Cir. 1992), and the investigation

was unrelated to the Office of Inspector General audit, beginning months before Curran

made his initial complaint (see ECF No. 29, ¶ 6). The release of these records in isolation

would not provide much information about USPS’s own conduct. Cf. Beck v. Dep’t of

Justice, 997 F.2d 1489, 1493 (D.C. Cir. 1993) (“The identity of one or two individual




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relatively low-level government wrongdoers, released in isolation, does not provide

information about the agency’s own conduct.”).

        The balancing of these competing interests favors withholding these records from

public disclosure. As such, the court will grant USPS summary judgment with regard to

all records relating to the investigation and discipline of a maintenance manager at the

Madison Processing and Distribution Center (ECF No. 21-1, Bates Range 001-110, 238-

253).

        IT IS THEREFORE ORDERED that Curran’s motion for in camera review of

records (ECF No. 25) is granted.

        IT IS FURTHER ORDERD that USPS’s motion for summary judgment (ECF No.

20) is granted in part and denied in part. USPS’s motion is granted with regard to all

records relating to the investigation and discipline of a maintenance manager at the

Madison Processing and Distribution Center (ECF No. 21-1, Bates Range 001-110, 238-

253), and denied with regard to internet usage records and supervisory observation logs

(ECF No. 21-1, Bates Range, 111-237).

        IT IS FURTHER ORDERED that summary judgment is granted for Curran as it

relates to all maintenance department employees’ internet usage records and the

supervisor observation logs (ECF No. 21-1, Bates Range, 111-237), which documents are

to be produced.




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Dated at Milwaukee, Wisconsin this 6th day of February, 2019.



                                        _________________________
                                        WILLIAM E. DUFFIN
                                        U.S. Magistrate Judge




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